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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Diane M. Doolittle (CA Bar No. 142046) Andrew H. Schapiro (admitted pro hac vice)
 2 dianedoolittle@quinnemanuel.com         andrewschapiro@quinnemanuel.com
                                           Teuta Fani (admitted pro hac vice)
 3 Sara Jenkins (CA Bar No. 230097)
    sarajenkins@quinnemanuel.com           teutafani@quinnemanuel.com
 4 555 Twin Dolphin Drive, 5th Floor       191 N. Wacker Drive, Suite 2700
    Redwood Shores, CA 94065               Chicago, IL 60606
 5 Telephone: (650) 801-5000               Telephone: (312) 705-7400
    Facsimile: (650) 801-5100              Facsimile: (312) 705-7401
 6

 7    Stephen A. Broome (CA Bar No. 314605)          Josef Ansorge (admitted pro hac vice)
      stephenbroome@quinnemanuel.com                 josefansorge@quinnemanuel.com
 8    Viola Trebicka (CA Bar No. 269526)             Xi (“Tracy”) Gao (CA Bar No. 326266)
      violatrebicka@quinnemanuel.com                 tracygao@quinnemanuel.com
 9    Crystal Nix-Hines (Bar No. 326971)             Carl Spilly (admitted pro hac vice)
10    crystalnixhines@quinnemanuel.com               carlspilly@quinnemanuel.com
      Alyssa G. Olson (CA Bar No. 305705)            1300 I Street NW, Suite 900
11    alyolson@quinnemanuel.com                      Washington D.C., 20005
      865 S. Figueroa Street, 10th Floor             Telephone: (202) 538-8000
12    Los Angeles, CA 90017                          Facsimile: (202) 538-8100
      Telephone: (213) 443-3000
13
      Facsimile: (213) 443-3100
14
      Jomaire Crawford (admitted pro hac vice)       Jonathan Tse (CA Bar No. 305468)
15    jomairecrawford@quinnemanuel.com               jonathantse@quinnemanuel.com
      51 Madison Avenue, 22nd Floor                  50 California Street, 22nd Floor
16    New York, NY 10010                             San Francisco, CA 94111
      Telephone: (212) 849-7000                      Telephone: (415) 875-6600
17
      Facsimile: (212) 849-7100                      Facsimile: (415) 875-6700
18
     Counsel for Defendant Google LLC
19
                                UNITED STATES DISTRICT COURT
20
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      PATRICK CALHOUN, et al, individually           Case No. 4:20-cv-05146-YGR-SVK
22    and on behalf of all similarly situated,
                                                     GOOGLE LLC’S SUBMISSION                  IN
23          Plaintiffs,                              RESPONSE TO DKT. 684

24                 v.
                                                     Hon. Susan van Keulen, USMJ
25    GOOGLE LLC,

26          Defendant.

27

28

                                                                    Case No. 4:20-cv-05146-YGR-SVK
                                                 GOOGLE LLC’S SUBMISSION IN RESPONSE TO DKT. 684
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 1            The topic on which Google designated Display Ads Finance Manager, Katie Lewinski, as a
 2 Rule 30(b)(6) deponent was clear: Google’s Display Ads Profit and Loss Statements for 2018-2021

 3 (the “P&Ls”).1 Yet, four days before her deposition, Plaintiffs sent Google five questions outside

 4 the scope of this agreed-to topic—and then questioned her over Google’s objections. Plaintiffs ask

 5 Google to identify, for the entire class period, Display Ads revenue, costs, profits, and traffic

 6 attributed to Chrome users in the United States. But Plaintiffs concede these questions are out of

 7 scope.2 The P&Ls, which provide Google’s global revenues, costs, and profits for Display Ads

 8 products, do not provide the granular breakdown that would be necessary to address Plaintiffs’

 9 questions. Nor can Google easily obtain this information.3
10            Plaintiffs’ requested relief (Dkt. 677-2 at 3) attempts to circumvent the Court’s March 18
11 Order directing the parties to confer on the relevant dashboards to resolve their revenue-related

12 discovery disputes. (Dkt. 579 at 5).4 Plaintiffs claimed Google “could likely” query a dashboard to

13 answer their questions (Plfs’ March 20, 2022 Email). But pursuant to the Court’s Order, the parties

14 had conferred, agreed on a set of queries for each dashboard, and Google produced the query results.

15 Plaintiffs then deposed another Rule 30(b)(6) witness, Dr. Glenn Berntson, on these very results as

16 well as on “Display ad revenue in the U.S. attributable to Chrome.”5 But three months after fact

17 discovery has ended, Plaintiffs ask this Court to require Google to essentially provide Interrogatory

18 responses to Plaintiffs’ questions or issue an evidentiary ruling. This improper attempt to circumvent

19 this Court’s Order and impose undue and unwarranted burdens on Google should be rejected.

20
     1
21     Google notified Plaintiffs of this limited scope on March 7, and again on March 18 and 28, and even
     referenced the P&L Bates numbers to underscore that the testimony would be limited to these documents.
22   Mindful that Plaintiffs had only 30 minutes of allocated time remaining for this deposition, Google also
     notified Plaintiffs three days in advance of the deposition that it objected to their pre-deposition questions.
23   2
       See Plfs’ May 20, 2022 Email (acknowledging “fact that such answers may not be readily apparent from
     Display Ads’ formal profit-and-loss statements.”).
     3
24     Google explained at the March 17, 2022 hearing that formal documents showing Display Ads revenue,
     costs, and profits attributed to Chrome users in the United States do not exist in the normal course of business.
25   See March 17, 2022 Hrg. Tr. 28:8-30:3.
     4
       Understanding Google’s limitation in terms of the revenue-related information it could obtain, the Court
26   asked: “[W]ith regards to attribution of revenue through Chrome being reflected on dashboards …Google's
     position is it will produce that information if that takes care of this issue?” Google responded: “If that will
27   resolve the dispute and if we can just get going with the 30(b)6 depositions so that we can conclude, Your
     Honor, yes.” See March 17, 2022 Hr. Tr. 29:2-39:3.
28   5
       See Plfs’ April 13, 2022 Ltr. to Google re Plaintiffs’ Identification of Topics and Documents for Glenn
     Berntson 30(b)(6) Deposition; April 14, 2022 Rule (30)(b)(6) Deposition Tr. at 67-73.
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 1 DATED: June 10, 2022              QUINN EMANUEL URQUHART &
                                     SULLIVAN, LLP
 2
                                      By /s/ Andrew H. Schapiro
 3
                                        Andrew H. Schapiro (admitted pro hac vice)
 4                                      andrewschapiro@quinnemanuel.com
                                        Teuta Fani (admitted pro hac vice)
 5                                      teutafani@quinnemanuel.com
                                        191 N. Wacker Drive, Suite 2700
 6                                      Chicago, IL 60606
 7                                      Telephone: (312) 705-7400
                                        Facsimile: (312) 705-7401
 8
                                         Stephen A. Broome (CA Bar No. 314605)
 9                                       stephenbroome@quinnemanuel.com
                                         Viola Trebicka (CA Bar No. 269526)
10                                       violatrebicka@quinnemanuel.com
                                         Crystal Nix-Hines (Bar No. 326971)
11
                                         crystalnixhines@quinnemanuel.com
12                                       Alyssa G. Olson (CA Bar No. 305705)
                                         alyolson@quinnemanuel.com
13                                       865 S. Figueroa Street, 10th Floor
                                         Los Angeles, CA 90017
14                                       Telephone: (213) 443-3000
15                                       Facsimile: (213) 443-3100

16                                       Diane M. Doolittle (CA Bar No. 142046)
                                         dianedoolittle@quinnemanuel.com
17                                       Sara Jenkins (CA Bar No. 230097)
                                         sarajenkins@quinnemanuel.com
18                                       555 Twin Dolphin Drive, 5th Floor
19                                       Redwood Shores, CA 94065
                                         Telephone: (650) 801-5000
20                                       Facsimile: (650) 801-5100

21                                       Josef Ansorge (admitted pro hac vice)
                                         josefansorge@quinnemanuel.com
22                                       Xi (“Tracy”) Gao (CA Bar No. 326266)
                                         tracygao@quinnemanuel.com
23                                       Carl Spilly (admitted pro hac vice)
24                                       carlspilly@quinnemanuel.com
                                         1300 I. Street, N.W., Suite 900
25                                       Washington, D.C. 20005
                                         Telephone: 202-538-8000
26                                       Facsimile: 202-538-8100

27                                       Jomaire A. Crawford (admitted pro hac vice)
                                         jomairecrawford@quinnemanuel.com
28                                       51 Madison Avenue, 22nd Floor

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 1                                       New York, NY 10010
                                         Telephone: (212) 849-7000
 2                                       Facsimile: (212) 849-7100

 3                                       Jonathan Tse (CA Bar No. 305468)
                                         jonathantse@quinnemanuel.com
 4                                       50 California Street, 22nd Floor
 5                                       San Francisco, CA 94111
                                         Telephone: (415) 875-6600
 6                                       Facsimile: (415) 875-6700

 7                                       Attorneys for Defendant Google LLC
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